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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                    GAINESVILLE DIVISION


 WASTECARE CORPORATION,

                 Plaintiff,                             Civil Action No.
                     v.                                2:18-cv-120-RWS
 HARMONY ENTERPRISES, INC.,

               Defendant.


                                      ORDER

      This case comes before the Court on the mandate of the Eleventh Circuit

Court of Appeals, issued September 22, 2020, which is hereby made the judgment

of this Court. [Docs. 31, 34, 36]. The Eleventh Circuit held that, pursuant to the

parties’ agreement, the question of arbitrability is to be determined by the

Arbitration Panel.

      Accordingly, it is hereby ORDERED that this matter is STAYED pending

binding arbitration. The Clerk is DIRECTED to administratively close this action.

The parties have the right to move to reopen in the event the parties’ dispute is

deemed not arbitrable or after the arbitration is complete, if necessary.
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SO ORDERED this 29th day of September, 2020.




                             ________________________________
                             RICHARD W. STORY
                             United States District Judge




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